Case 7:19-cr-00156 Document1 Filed on 02/09/19 in TXSD Page 1 of 2

AO 91 (Rev, 11/11) Criminal Complaint

 

_ UNITED STATES DISTRICT COURT =" "Bsa

 

 

 

for the FES ~ 9 20g
SOUTHERN DISTRICT OF TEXAS .
United States of America
Vv. C yrve fewe) js Davicl db. Bradley, Clerk
Robert Saloxar ~ternan ee CTO AA- 19 - OZ98-IMA
~Ol Roberto HERNANDEZ-Salazar (YOB:1977) Mx fre
Edgar Alexis MARTINEZ-Lozano(YOB:1999) Mx )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the-date(s) of 2/7/2019 in the county of Hidalgo . in the
SOUTHERN District of TEXAS , the defendant(s) violated:
Code Section Offense Description
21 USC 841{(a) (1). Knowingly and intentionally possess with

intent to distribute approximately 7.93
kilograms of cocaine, a schedule II
controlled substance.

’ This criminal complaint is based on these facts:

(Continued on Attachment I)

Continued on the attached sheet.

Submitted by reliable electronic means, fs/_ Joseph A. Lucio
Complainani's signature

to and attested to telephonicall :
sworn P y Joseph A. Lucio, DEA Task Force Officer

 

 

per Fed. R. Cr. P. 4. 1, and probable Printed name and title

cause found on: 02-09-2019 VA S Qanvrh_

Date: 2/9/2019 . 2:20 p.m. . o
iors Judge's signature

City and state: McAllen, Texas Peter_E. Ormsby, Magistrate Judge

 

Printed name and tite
Case 7:19-cr-00156 Document1 Filed on 02/09/19 in TXSD Page 2 of 2

ATTACHMENT |

On February 7, 2019, DEA McAllen Group D-81 working along with the Hidalgo County HIDTA
Task Force conducted surveillance at a residence in Mission, Texas. While conducting
surveillance at the aforementioned address (hereinafter referred to as TARGET RESIDENCE),
agents observed a white truck depart. Subsequent to a probable cause traffic stop conducted
by a Hidalgo County Deputy, the driver identified as Roberto HERNANDEZ- Salazar was arrested
for a local state warrant on dangerous drug charges.

Later that night, agents approached the TARGET RESIDENCE and gained written consent from
Edgar Alexis MARTINEZ-Lozano who resides at the TARGET RESIDENCE. Subsequent to a search
of the TARGET RESIDENCE, agents located approximately 7.9 kilograms of suspected cocaine
and two firearms. Agents then conducted a recorded interview where MARTINEZ-Lozano was
read his rights. MARTINEZ-Lozano waived his rights and agreed to speak with agents. During the
recorded interview, MARTINEZ-Lozano admitted to agents that he would help store narcotics at
the TARGET RESIDENCE and in return, MARTINEZ-Lozano would be allowed to live at the
TARGET RESIDENCE for free. MART!NEZ-Lozano also implicated HERNANDEZ-Salazar as the
individual who would help him store the narcotics at the TARGET RESIDENCE.

On February 9, 2019, agents traveled to the Hidalgo County Detention Center to meet with
HERNANDEZ-Salazar, where HERNANDEZ-Salazar was read his rights. HERNANDEZ-Salazar
waived his rights and agreed to speak with agents. During a recorded interview, HERNANDEZ-
Salazar explained to the agents that he and MARTINEZ-Lozano lived at the TARGET RESIDENCE
and that both would get paid to store the narcotics. HERNANDEZ-Salazar explained to agents
that he would get paid approximately $1,000.00 per week to store cocaine: HERNANDEZ-
Salazar went into detail stating that the TARGET RESIDENCE was only used to temporarily store
narcotics and later be delivered to other associates.
